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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 SEBASTIAN GORKA,

                               Plaintiff,
                                                     Case No.: 1:22-cv-00017
 v.

 BENNIE G. THOMPSON, in his
 official capacity as Chairman of the
 House Select Committee to
 Investigate the January 6 Attack on
 the United States Capitol, et. al.,


                           Defendants.


              EX PARTE MOTION TO SEAL PREVIOUSLY FILED EXHIBIT

       Pursuant to Federal Rule of Civil Procedure 5.2 and Local Civil Rule 5.1(h)(1), Plaintiff

Dr. Sebastian Gorka (“Dr. Gorka”) respectfully moves the Court ex parte to permanently seal

Exhibit C to Dr. Gorka’s Complaint (ECF No. 1-4). This motion is supported by the accompanying

declaration of counsel and the entire record and files herein.




                                   [continued on following page]




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Dated: January 6, 2022                      Respectfully submitted,



                                            /s/ David A. Warrington
                                            David A. Warrington, Esq. (D.C. Bar #
                                            1616846)
                                            Dhillon Law Group, Inc.
                                            2000 Duke Street, Suite 300 Alexandria,
                                            Virginia 22314 571-400-2120
                                            dwarrington@dhillonlaw.com

                                            /s/ Michael A. Columbo
                                            Michael A. Columbo, Esq. (D.C. Bar #
                                            476738)
                                            Dhillon Law Group Inc.
                                            177 Post Street, Suite 700 San Francisco,
                                            California 94108 415-433-1700
                                            mcolumbo@dhillonlaw.com




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